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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                          :
                                                   :           CRIMINAL CASE NUMBER:
               v.                                  :
                                                   :           3:15-cr-00204-RNC-1
DAVID NIKOLASHVILI,                                :
     Defendant.                                    :           February 23, 2018


                                SENTENCING MEMORANDUM

       David Nikolashvili, a 53-year-old man with no prior criminal history, pleaded guilty to

false swearing in immigration matters, in violation of 18 U.S.C. § 1546(a). He faces an advisory

Guidelines range of 12 to 18 months’ imprisonment. He nonetheless seeks a sentence of time

served – that is, 11 days of pretrial custody. There are two bases for a downward departure: the

combination of his specific offender characteristics (age, employment record, and family

responsibilities) and substantial rehabilitation. There are five bases for a variance, such as the

Proposed 2017 Guideline Amendments, the BOP’s disparate treatment of noncitizens, and the need

to avoid unwarranted sentencing disparities. This memorandum explains these and other bases for

the requested sentence, but it first discusses Mr. Nikolashvili’s history, characteristics, and offense

conduct.

                            MR. NIKOLASHVILI’S
               HISTORY, CHARACTERISTICS, AND OFFENSE CONDUCT

       Mr. Nikolashvili had a good childhood by many measures. He shared – and continues to

share – a close relationship with his parents and two sisters. He describes his oldest sister, Vera,

as his “twin,” even though they were born two years apart. And while his parents were strict by

American standards, life at home was healthy and loving. He performed well in school, enjoyed

boxing, and remembers staying busy from dusk until well past dark. Mr. Nikolashvili spent much


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of his time outside of school on the farm, where he raised animals, milked the cows, and tended to

the grapes. He spent seven years studying medicine at the Tbilisi Medical State University and

graduated with a degree in Narcology and Psychiatry in 1988, around the age of 23. He got married

to a cousin’s good friend, and he and his first wife had a son, Zaza.

       It’s important to remember, however, that Mr. Nikolashvili grew up in the former Soviet

Union, and life in the Soviet Union was drastically different from the United States. The

Nikolashvilis did not own real property. “Under the state system, designated plots were leased to

farmers and town dwellers for private crop and livestock raising.” Curtis, Glenn E., Armenia,

Azerbaijan, and Georgia, Federal Research Division, Library of Congress (March 1994) at 198.

Private property existed, but access to goods easily found here were forbidden and could only be

obtained on the black market. Education was free but “inseparable from politics, and the schools

were deemed an important tool in remaking society along Marxist-Lenin lines.” Id. Freedom of

expression, assembly, religion, and movement were highly circumscribed.

       So what did this mean for Mr. Nikolashvili? It meant living in a society where he could

not discuss the ideas that he passionate about, such as democracy and freedom. It meant that he

still struggled financially despite his education and medical training. It meant that his patients

struggled even more than him. According to his sister,

       [David] was [also] working as an independent driver in a car (similar to an Uber
       driver) and all of the money he was getting from there, he would donate it to
       ambulances for gas, because back at that time the hospitals and ambulances were
       so poor that couldn’t afford for gas, hospitals weren’t getting any financial help
       from the Government or anyone else. And not only that but he would also buy
       medicines with his own money for the hospitals and the people who couldn’t afford
       it.

Exhibit B (Vera Papavasileiou Letter).




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       Mr. Nikolashvili engaged in pro-democracy protests around this time and was arrested as

a result. After being released from custody, he fled to Greece, leaving behind his first wife and

their son who he had hoped would join later join them. Mr. Nikolashvili found work as a cook for

several years, and while he was living in Greece, his first wife remarried. His first wife, however,

still holds him in high regard. See Exhibit C (Ketevan Katsitadze Letter) (“Despite all our

difference I must say that he is a good person, very good father, caring and loyal.”). And he still

continued to provide for his oldest son. See Exhibit D (Zaza Nikolashvili Letter) (“We haven’t

seen each other for a long time now, but he always keeps in touch with me like he has done for so

many years.”). Mr. Nikolashvili eventually returned to Georgia for five years before coming to

the United States. In those five years, he remarried and had twin sons, Giorgi and Besarion.

       When Mr. Nikolashvili arrived in the United States, he began living with a friend in

Queens, New York. He first found work as a cook in a Greek restaurant before securing a masonry

job at SAZ construction. He suffered two work-related injuries as a mason. He fell off a roof

approximately 15 years ago and broke his leg. About eight to ten years ago, he suffered a ruptured

disc in his back which put him out of work and required surgery at Stamford Hospital. These

injuries and his advanced age led him to reconsider a career in construction, and he ultimately

decided to obtain his Commercial Driving License. He quickly found work with Cadence Premier

Logistics, but in the early years, he struggled to make ends meet due to trouble finding reliable and

consistent work and the cost of his lease, repairs, and insurance.

       In 2010, around the same time that he decided to switch careers, he began engaging in the

criminal activity at issue—that is, in exchange for money, he arranged sham marriages between

citizens and noncitizens. The citizens received a share of the money; the noncitizens obtained (or

hoped to obtain) a chance at living the American dream. Mr. Nikolashvili’s criminal activity



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spanned from 2010 until 2014. During the last two years, Mr. Nikolashvili began to slow down

until his criminal activity came to a gradual stop. The government’s investigation began before

this time, around August 2013.     Mr. Nikolashvili, however, was unaware of the government’s

investigation until June 21, 2016 when Mr. Nikolashvili’s truck was stopped at a weigh station.

At that time, he provided a voluntary, Mirandized statement to investigating agents, admitting to

engaging in the criminal conduct at issue.

       Mr. Nikolashvili was presented the following day in federal court and detained. He was

released over a week later, on July 1, 2016. Since that time, he has continued to work as a truck

driver, earning more and more money. His previous employer thought highly of him. “He is a

very responsible person and we are looking forward to work with him in the future.” Exhibit E

(Cadence Letter). In October 2017, he moved employers and started working for State Express

where he now works 70 to 80 hours per week. According to his current employer,

       During his tenure in the demanding field of logistics, David established himself as
       a valuable asset to the successful performance of the entire organization. David has
       shown an extraordinary sense of responsibility to adhere to safety requirements
       when driving, be courteous to clients, and treat goods with care. Indicating high
       alertness and ability to work independently, David has demonstrated excellent
       customer service skills when dealing with clients who are either shipping or
       receiving freight carried in the truck. In addition, David [Nikolashvili] has a proven
       record of being able to easily manage stress, as the occupation is one that can be
       highly stressful. Furthermore, David has been very responsible by consistently
       making all pick-ups and deliveries on-time. Finally, being technically inclined,
       David Nikolashvili demonstrated the ability to perform maintenance tasks that help
       ensure the truck meets compliance and other safety standards.

Exhibit F (Arnold Gabrenas Letter).

       Mr. Nikolashvili has used his time of pretrial release to save money and help support his

family back in Greece and Georgia. See Exhibit G (Chrysanthi Papavasileiou Letter) (“There were

so many times we didn’t have money to buy groceries. . . And my uncle was the one who would

not only send us money but wouldn’t accept us to pay him back.”). According to his second wife,

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       What I can say about this person, which I have known for years is that he is a very,
       very kind man. This is proved with his actions, for all these years he has been such
       a careful father, he calls us every week and helps us not only materially but also
       mentally.

Exhibit H (Natela Nikolashvili). And despite working hard to support his family, “he always finds

time and energy to call us and talk to us for hours, giving us advice about our life and our future.”

Exhibit I (Giorgi Nikolashvili); see also Exhibit J (Besiki Nikolashvili).

       Mr. Nikolashvili “fully realize[s] the gravity of his offense and . . . deeply regrets [his]

actions.” Exhibit A (David Nikolashvili Letter). He is prepared to accept whatever sentence this

Court chooses to impose because he “know[s] it is well-deserved and fully justified.” Id. And

while this conviction places him at risk of removal, he hopes to continue working and pursuing

the American dream if at all possible. According to him,

       I would like my life to be useful – not only to myself and my family, but also to the
       country that I have come to love as my second Homeland. I love this country not
       only because it has given me opportunities to realize my potential in life, and not
       only because the United States is the place that many people on this planet dream
       of calling their home, but also because it is the most civilized and democratic state
       that has ever existed; it is the most multinational and multiracial country, which
       most closely reflects the beliefs and ideals that I hold dear.

Id.
                                          DISCUSSION

       The principles governing sentencing are well established. “In United States v. Booker, the

Supreme Court held that the mandatory application of the Sentencing Guidelines was incompatible

with the Sixth Amendment.” United States v. Cavera, 550 F.3d 180, 187 (2d Cir. 2008) (citing

United States v. Booker, 543 U.S. 220, 226–27 (2005)). The Second Circuit then set forth the

model for sentencing in a post-Booker world. See United States v. Crosby, 397 F.3d 103 (2d Cir.

2005), abrogated on other grounds by United States v. Fagans, 406 F.3d 138 (2d Cir. 2005).

Briefly, there are now three types of sentences. Id. at 111 n.9, 113. First, there are within-



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Guidelines sentences. Id. Second, there are above- and below-Guidelines sentences, which are

sentences resulting from permissible departures under the Guidelines. Id. Third, there are non-

Guidelines sentences, which are sentences falling outside the Guidelines range without a

permissible basis for departure. Id. Before imposing a sentence, “a sentencing judge must consider

the factors specified in 18 U.S.C. § 3553(a). . . .” Fagans, 406 F.3d at 141 (citing Crosby, 397

F.3d at 110–12).

       The United States Probation Office has properly calculated an advisory Guidelines range

of 12 to 18 months’ imprisonment, resulting from Offense Level 13 and Criminal History Category

I. Mr. Nikolashvili nonetheless seeks a sentence of time served. 1 There are compelling reasons

for a departure, variance, or both. This memorandum first addresses two bases for downward

departure: specific offender characteristics and substantial rehabilitation. The memorandum next

addresses five bases for variance, such as the Proposed 2017 Guideline Amendments, the BOP’s

disparate treatment of noncitizens, and the need to avoid unwarranted sentencing disparities. The

memorandum finally argues that a sentence of time served is appropriate based on the totality of

the 3553(a) factors.

II.    There Are Two Bases to Depart Downwardly: the Combination of Specific Offender
       Characteristics (Age, Employment, and Family Ties) and Substantial Rehabilitation.

       In Koon v. United States, 518 U.S. 81, 94 (1996), the Supreme Court explained that the

Sentencing Guidelines apply only to a “heartland” of typical cases. “Atypical cases were not

‘adequately taken into consideration,’ and factors that may make a case atypical provide potential

bases for departure.” Id. (citations omitted). A district court may depart below the Guidelines




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         Mr. Nikolashvili also seeks a Guidelines term of supervision, fine, and special assessment.
This memorandum addresses those non-incarceratory portions of his sentence to argue that those
other forms of punishment are adequate to satisfy the purposes of sentencing.
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range if it finds “a mitigating circumstance of a kind, or to a degree, not adequately taken into

consideration by the Sentencing Commission in formulating the guidelines.” 18 U.S.C. § 3553(b);

U.S.S.G. § 5K2.0(b).

       There are two grounds for departure in this case. First, Mr. Nikolashvili’s age, employment

record, and family responsibilities, when considered in combination, are present to a substantial

degree and make the case exceptional. Second, Mr. Nikolashvili has substantially rehabilitated

himself while on pretrial release by engaging in lawful employment, living frugally, saving, and

helping to support his family. Both arguments are addressed in turn.

       A.      Mr. Nikolashvili’s age, employment record, and family responsibilities,
               when considered in combination, are present to a substantial degree and
               make this case an exceptional one.

       The Sentencing Commission has identified “characteristics . . . relevant in determining

whether a sentence outside the applicable guideline range is warranted.” U.S.S.G., Chapter Five,

Part H, Introductory Commentary.        The Guidelines identify three permissible grounds for

departure: age, employment record, and family responsibilities, which all go hand-in-hand here.

U.S.S.G. §§ 5H1.1, 1.5–1.6.      When multiple permissible characteristics form the basis for

departure, a district court may depart from the Guidelines if those circumstances are “present to a

substantial degree” and “make the case an exceptional one.” U.S.S.G. § 5K2.0(c).

       At the age of 53, Mr. Nikolashvili is substantially older than most defendants. And despite

his age, he works the equivalent of two full-time jobs. And his employment is not a desk job, it

requires long, lonely hours on the road. He works so hard because he wants to help support his

family in Greece and Georgia who still rely on his support. All of these factors are not only present

to a substantial degree, but they make this case exceptional. Incarceration would end Mr.

Nikolashvili’s employment and cause undue hardship to his family. And his advanced age makes



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it all the more difficult for him to pick up where he left off. For these reasons, the combination of

these conditions makes a downward departure appropriate.

       B.      A Downward Departure Is Further Supported by Mr. Nikolashvili’s
               Extraordinary Rehabilitation.

       Another way to view Mr. Nikolashvili’s specific offender characteristics is extraordinary

rehabilitation, which also constitutes a well-established basis for a downward departure. See, e.g.,

United States v. Wong, 40 F.3d 1347, 1382 (2d Cir. 1994) (“[I]t is well established that a district

court should consider a defendant’s potential for rehabilitation in determining a sentence.”). In

United States v. Core, 125 F.3d 74, 76 (2d. Cir. 1997), the Second Circuit observed that the

“awareness of one’s circumstances and the demonstrated willingness to act to achieve

rehabilitation, thereby benefitting the individual and society, can remove a case from the heartland

of typical cases, thus constituting a valid basis for departure.” Id.

       Mr. Nikolashvili has been on pretrial release since July 1, 2016. During this time, he has

not had a single instance of misconduct and has done almost nothing but work and live simply.

He has used his savings to help his family in Greece and in Georgia. According to his niece,

“[t]here were so many times we didn’t have money to buy groceries. . . And my uncle was the one

who would not only send us money but wouldn’t accept us to pay him back.” Exhibit G. He

continued to provide for his second wife, despite their divorce, and his two sons who are studying

medicine. And, as a result of his savings, he is able to pay a fine within the Guidelines range.

Suffice it to say, he has recognized the need for change and has done everything in his power to

turn his life around. With these changes, he is much less likely reoffend. See Doe v. United States,

168 F.Supp.3d 427, 429 (E.D.N.Y. 2016) (“Participation in pro-social behaviors like employment,

education and civic engagement—the very things that people with criminal records are often

barred from participating in—actually reduce[s] recidivism.” (citation omitted)).

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II     There Are Five Bases to Vary Downwardly, Such As the 2017 Proposed Guideline
       Amendments for First Offenders, the BOP’s Disparate Treatment of Noncitizens, and
       the Need to Avoid Unwarranted Sentencing Disparities.

       The arguments discussed above constitute bases for departure as well as variance because

those circumstances bear directly on the Section 3553(a) factors. The Guidelines, however,

prohibit departures in some circumstances, even if a fact would be relevant to the factors a district

court must consider before imposing a sentence. For example, where, as here, a defendant falls in

Criminal History Category I, the district court may not depart on the basis of recidivism. U.S.S.G.

§ 4A1.3(b)(2)(A). A district court, however, may still impose a non-Guidelines sentence on this

basis. See United States v. Jones, 460 F.3d 191, 194 (2d Cir. 2006) (“With the entire Guidelines

scheme rendered advisory by the Supreme Court’s decision in Booker, the Guidelines limitations

on the use of factors to permit departures are no more binding on sentencing judges than the

calculated Guidelines ranges themselves.”). A district court may still impose a non-Guidelines

sentence in those cases because a defendant’s risk of recidivism bears directly on the need to

protect the public from his future crimes.

       There are five bases for a downward variance in this case. First, statistically speaking, Mr.

Nikolashvili is unlikely to recidivate: he is 53 years old, has a lifelong history of employment, has

been married, graduated from college, has never used illegal drugs, and is a first offender. Second,

the 2017 Proposed Guidelines Amendments recommended a lower Guidelines range and a

sentence other than imprisonment for first offenders like Mr. Nikolashvili. Third, the concept of

incremental punishment justifies a non-Guidelines sentence, especially when imposed in

conjunction with a Guidelines term of supervised release and a fine. Fourth, if incarcerated, Mr.

Nikolashvili will spend more time in custody under harsher conditions than a United States citizen




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receiving the exact same sentence. Fifth, the majority of people sentenced under section 2L2.1

received a below- or non-Guidelines sentence.

       A.      Statistically speaking, Mr. Nikolashvili is unlikely to recidivate: he is 53
               years old, has a lifelong history of employment, has been married,
               graduated from college, has never used illegal drugs, and is a first offender.

       Many courts have relied upon recidivism statistics from the United States Sentencing

Commission in deciding to impose a below- or non-Guideline sentence. See, e.g., United States

v. Aguilera, 2008 WL 4830802, at *3 (E.D. Wis. Oct. 28, 2008) (citing U.S. Sentencing

Commission, Measuring Recidivism: The Criminal History Computation of the Federal

Sentencing Guidelines, (May 2004) [hereinafter, “Recidivism Report”]); United States v.

Germosen, 473 F.Supp.2d 221, 227 (D. Mass. 2007) (citing A Comparison of the Federal

Sentencing Guidelines Criminal History Category and the U.S. Parole Commission Salient Factor

Score 15 (Jan. 4, 2005)); cf. United States v. Payton, 754 F.3d 375, 379 (6th Cir. 2014) (vacating

and remanding for resentencing because district court imposed above-Guidelines sentence without

addressing Sentencing Commission’s recidivism statistics on age). Relying on statistical analyses

in numerous categories over a fifteen-year period, the Sentencing Commission has found that

recidivism rates are strongly correlated with various factors. See Recidivism Report. Many factors

suggest that Mr. Nikolashvili is statistically unlikely to recidivate: he is over the age of 50, is

currently employed, is divorced, has never used illicit substances, and is a first offender.

       The Sentencing Commission’s statistics show lower levels of recidivism among older

offenders in general and more specifically among those in Criminal History Category I.

Recidivism Report at 12. Mr. Nikolashvili, who is 53, is older than most federal defendants.

Offenders over the age of 50 have a recidivism rate of 9.5 percent, while offenders under age 21

have a recidivism rate of 35.5 percent. Id. at 28 (Ex. 9). In Criminal History Category I, the



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recidivism risk of offenders under 21 is 29.5 percent, but the recidivism risk for offenders over 50

is merely 6.2 percent. Id. Thus, Mr. Nikolashvili’s age strongly suggests that he is unlikely to

recidivate and hence that the Guidelines overstate the need to protect the public. See Payton, 754

F.3d at 379 (holding that district court committed procedural error in failing to consider the

Sentencing Commission’s recidivism statistics on age).

       Employment, education, marriage, and abstinence from illicit drugs also predict a low

likelihood of recidivism, both generally and specifically among offenders in Criminal History

Category I. Id. at 29 (Ex. 10). Mr. Nikolashvili possesses all these attributes. Criminal History

Category I offenders with stable employment are less likely to recidivate (12.7%) than similarly

situated offenders who were unemployed (20.6%). Id. So, too, with college graduates: they are

less likely to recidivate (7.1%) than offenders without at high school education (21.3%). Id.

Likewise, married and divorced offenders both had only a 9.8 percent risk of recidivating,

compared to a 22.7 percent rate for those who were never married. Id. Offenders who abstained

from illicit drugs too showed markedly lower rates of recidivism. Id. Only 10.8 percent of

offenders who did not use illicit drugs reoffended, whereas 21.9 percent of offenders who had used

illegal drugs one year prior to their offense reoffended. Id.

       The most important factor, however, is Mr. Nikolashvili’s lack of any prior criminal

history. His criminal history score does not sufficiently capture why there is little need to protect

the public from future crimes. See Recidivism Report at 35. “There is a demonstrable difference

in the recidivism rates of real first offenders as compared to other defendants in Criminal History

Category I.” Germosen, 473 F. Supp.2d 221, 227 (citing Michael Edmund O’Neill, Abraham’s

Legacy: An Empirical Assessment of (Nearly) First-Time Offenders in the Federal System, 42

B.C. L.REV. 291 (2001) [hereinafter, “O’Neill, Abraham’s Legacy”]). Offenders with “no prior



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convictions or reported contact with the criminal justice system are lumped together in Criminal

History Category I with offenders who may be recidivists or who may have prior violent felonies,”

and the latter category of offenders are more likely to “demonstrate recidivist behavior.” O’Neill,

Abraham’s Legacy, 42 B.C. L.REV. at 293–94.

       The Sentencing Commission’s more recent studies confirm this research. See U.S.S.C.,

The Past Predicts the Future: Criminal History and Recidivism of Federal Offenders (May 2017),

available   at     https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2017/20170309_Recidivism-CH.pdf. Here are the key findings applicable to Mr.

Nikolashvili:

       There are substantial differences in recidivism rates among groups of offenders in
       CHC I. Among offenders with zero points and no prior contact with the criminal
       justice system, there is an 11.7 percentage point difference in rearrest rates.
       Between offenders with zero criminal history points and some criminal history and
       one-point offenders there is a 10.4 percentage point difference. Overall, there is a
       22.1 percentage point difference in rearrest rates between offenders with no
       criminal history and one-point offenders. These differences within CHC I are
       substantially larger than the differences within other CHCs. In addition, offenders
       with zero points have a longer median time to rearrest and a less serious offense of
       rearrest than offenders with one criminal history point (public order vs. assault).

Id. at 14. Thus, for people with no prior criminal history, “a sentence other than imprisonment is

generally appropriate.” American Bar Association, A Report on Behalf of The American Bar

Association Task Force on The Reform of Federal Sentencing for Economic Crimes, available at

http://lawprofessors.typepad.com/files/ussc-presentation-9-17-13.pdf.

       B.        The 2017 Proposed Amendments Recommended a Sentence Other Than
                 Imprisonment for First Offenders like Mr. Nikolashvili.

       Research on recidivism has led the Sentencing Commission to propose several

amendments for first offenders.       See U.S.S.C., Proposed Amendments to the Sentencing

Guidelines, (Dec. 2016) (“Recidivism data analyzed by the Commission indicate that “first



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offenders” generally pose the lowest risk of recidivism). The Proposed 2017 Amendments, which

incorporated these recidivism statistics, did not take effect on November 1, 2017 because the

Sentencing Commission lacked a quorum of voting members. The Proposed 2017 Amendments

are nonetheless appropriate bases for variance. See United States v. Preciado, 590 F. App’x 654

(8th Cir. 2015) (affirming sentence where the district court granted “a downward variance based

on an anticipated amendment to the Sentencing Guidelines”). Three proposed amendments are

relevant here.

       First, the Proposed 2017 Amendments recommended one- or two-point decreases to the

total offense levels for individuals who have never been convicted of a prior criminal offense. See

2017 Proposed Amendments, U.S.S.G. § 4C1.1. With a one-level decrease, the Guidelines drop

to 10–16 months’ imprisonment; with a two-level decrease, the Guidelines drop to 8–14 months’

imprisonment. See U.S.S.G. § 5A (Sentencing Table). Second, the Proposed 2017 Amendments

recommend combining Zones B and C. See Proposed 2017 Amendments, U.S.S.G. § 5A. With

this amendment, Mr. Nikolashvili’s current offense level of 12–18 months’ imprisonment,

qualifies for a sentence of probation under the current Guidelines table. See U.S.S.G. § 5B1.1

(Imposition of a Term of Probation). Third, and most significantly, the amendments adopt the

following policy statement: “the court ordinarily should impose a sentence other than a

sentence of imprisonment . . . .” Proposed 2017 Amendments, U.S.S.G. § 5C1.1(g) (emphasis

added). These amendments will not go into effect in the foreseeable future because the Sentencing

Commission lacked a quorum of voting members in 2017 and the newly constituted Sentencing

Commission chose not to propose these changes for 2018. But the mere existence of these

proposed amendments, and the basis for them, should give the Court confidence that the




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Guidelines overstate the need to protect the public and that a downward variance to time served is

a justifiable sentence.

       C.      The Concept of Incremental Punishment Justifies the Requested Sentence –
               That Is, Eleven Days of Pretrial Incarceration, Nearly Two Years of
               Pretrial Supervision, a Guidelines Term of Supervised Release, a Fine
               within the Guidelines Range, and $100 Special Assessment.

       A sentence of 12 to 18 months’ imprisonment would be unnecessarily excessive because

Mr. Nikolashvili has never been incarcerated. In United States v. Mishoe, 241 F.3d 214, 220 (2d

Cir. 2001), the Second Circuit stated:

       Obviously, a major reason for imposing an especially long sentence upon those who
       have committed prior offenses is to achieve a deterrent effect that the prior
       punishments failed to achieve. That reason requires an appropriate relationship
       between the sentence for the current offense and the sentences . . . for the prior
       offenses.

Mishoe specifically addressed the Career Offender Guidelines, but its concept of incremental

punishment applies here. See United States v. Casteneda, 191 F. App’x 15, 18 (2d Cir. 2006)

(observing that Mishoe permits “a departure pursuant to § 4A1.3 . . . ‘if the sentencing judge

determines, in the exercise of [his] discretion,’ that the defendant’s criminal history category

‘overstates the seriousness of his criminal record.’ (emphasis omitted) (quoting Mishoe, 241 F.3d

at 215)). Where an individual has never been incarcerated prior this offense, a Guidelines range

recommending 12 to 18 months’ imprisonment is too severe. See United States v. Cabrera, 567

F.Supp.2d 271 (D. Mass. 2008) (granting 24-month variance, in part, because defendant in drug

sting was a first-time offender). There is no reason to believe that such a sentence would be more

effective than the requested sentence – that is, 11 days of incarceration, almost two years of pretrial

supervision, further supervision (or deportation), a fine within the Guidelines range, and $100

special assessment – because there is no point of comparison or historical example to disprove the

efficacy of a lower sentence.

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       D.       If Incarcerated, Mr. Nikolashvili Will Spend More Time in BOP Custody
                under Harsher Conditions than a United States Citizen Receiving the Exact
                Same Sentence.

       Mr. Nikolashvili’s immigration status means that he will serve a prison sentence differently

from a United States citizen receiving the exact same sentence. His immigration status alters the

“just punishment” calculation in two different ways, neither of which are reflected in the

Guidelines, cf. U.S.S.G. § 5H1.10, and all of which are proper bases for a below or non-Guidelines

sentence, see United States v. Smith, 27 F.3d 649, 655–56 (D.C. Cir. 1994) (noting that “a

downward departure may be appropriate where the defendant’s status as a deportable alien is likely

to cause a fortuitous increase in the severity of his sentence”).

       These two reasons go hand-in-hand.          Without citizenship, Mr. Nikolashvili will be

ineligible for placement in minimum security camp. 2 See BOP Policy Statement 5100.08 (“A male

or female inmate who is not a citizen of the United States. All long-term detainees will have this

PSF applied. When applied, the inmate or the long-term detainee shall be housed in at least a Low

security level institution.”). And because Mr. Nikolashvili is ineligible for minimum security

placement, he will not be eligible for early release to a halfway house or Residential Reentry

Management Center (“RRC”). See Phuong Dong Duong v. Martin, 2014 WL 1665012, at *2 (S.D.

Miss. Apr. 25, 2014) (“A halfway house or RRC is considered a minimum security facility;

therefore, an inmate who cannot be housed in a minimum security facility is ineligible. . . .”).

Courts have ruled that these are permissible bases for a non-Guidelines sentence. See, e.g., United

States v. Navarro-Diaz, 420 F.3d 581, 588-89 (6th Cir. 2005) (remanding case for re-sentencing




       2
          It appears that Mr. Nikolashvili, despite the existence of a final order of removal, will be
eligible to earn good-conduct time if his sentence is greater than one year. See 28 C.F.R.
§ 523.20(d) (exempting people subject to deportation from literacy requirements ordinarily
required to earn good-conduct time).
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post-Booker where district court noted at sentencing that cases “involving defendants who will be

deported result, in effect, in harsher time because they are not eligible for halfway house

placement”).

       E.      The Majority of People Sentenced under Section 2L2.1 Received a Below-
               or Non-Guidelines Sentence.

       Congress requires a sentencing court to consider “the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct.”

18 U.S.C. § 3553(a)(6). This command requires courts to consider disparities in sentencing on a

“national level.” United States v. Tejeda, 146 F.3d 84, 87 (2d Cir. 1998). In 2016, 130 individuals

in the United States were sentenced pursuant to Section 2L2.1. No one received a sentence higher

than the recommended Guidelines. Exhibit M (Table 50). Less than 48% of people received

within-Guidelines sentences. Id. More than 52% received a below- or non-Guidelines sentence.

Id. In other words, a below or non-Guidelines sentence is more in keeping with national standards

than a Guidelines sentence.

III.   A Sentence of Time Served is Appropriate in Light of All of the Section 3553(a)
       Factors.

       Before imposing a variance, or any sentence for that matter, a district court must consider

the factors set forth in 18 U.S.C. § 3553(a). See Crosby, 397 F.3d. at 111 n.9, 113. Key among

those factors are the purposes of sentencing because Section 3553(a) begins with the requirement

that “[t]he court shall impose a sentence sufficient, but not greater than necessary, to comply with

the purposes set forth in paragraph (2) of this subsection.” In United States v. Ministro-Tapia, 470

F.3d 137 (2d Cir. 2006), the Second Circuit has expanded on this concept and explained that if the

Court believes a lower sentence will be as effective as a higher sentence in serving the purposes

of sentencing, it must choose the lower sentence. See id. at 142 (observing that where a Guidelines



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sentence is “in equipoise with [a] below-the-range sentence,” parsimony clause requires

imposition of the lower sentence).       This determination requires “‘generosity of spirit, that

compassion which causes one to know what it is like to be in trouble and in pain.’” United States

v. Singh, 877 F.3d 107, 121 (2d Cir. 2017) (quoting Guido Calabresi, What Makes a Judge Great:

To A. Leon Higginbotham, Jr., 142 U. PA. L. REV. 513, 513 (1993)).

       A confluence of factors justify a sentence of time served. These factors have been

discussed at length. Briefly, however, Mr. Nikolashvili possesses compelling characteristics: he

is a hardworking, 53-year-old man who arrived in the United States almost two decades ago. See

18 U.S.C. § 3553(a)(1). He helps support his family in Greece and Georgia. The offense is

undoubtedly serious, but he committed his first criminal offense when he was transitioning careers

after sustaining serious injuries. See id. He has since turned his life around, working the equivalent

of two full-time jobs. See 18 U.S.C. § 3553(a)(2)(B).

       Mr. Nikolashvili will be sufficiently punished: he has spent time in criminal custody, has

been supervised for nearly two years, could be subjected to further supervision (or deportation),

and has agreed to pay a fine. See 18 U.S.C. § 3553(a)(2)(A). A more severe sentence would not

result in greater deterrence of a first offender. See Michael Tonry, Purposes and Functions of

Sentencing, 34 Crime and Justice: A Review of Research 28–29 (2006) (“[I]ncreases in severity

of punishments do not yield significant (if any) marginal deterrent effects. . . . Three National

Academy of Science panels, all appointed by Republican presidents, reached that conclusion, as

has every major survey of the evidence.”). And there can be no valid rehabilitative goal in

imposing further incarceration. Compare 18 U.S.C. § 3553(a)(2)(D) (requiring sentence “to

provide the defendant with needed educational or vocational training, medical care, or other




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correctional treatment in the most effective manner”), with 18 U.S.C. § 3582(a) (“[I]mprisonment

is not an appropriate means of promoting correction and rehabilitation.”).

       In light of the facts at issue, a sentence of time served does not ignore the Guidelines or

result in unwarranted sentencing disparities. See 18 U.S.C. §§ 3553(a)(4)(A)(i), (a)(6). Instead, it

gives effect to pertinent policy statements reflecting that the Guidelines inadequately address the

unique circumstances at play in this case. See 18 U.S.C. § 3553(a)(5)(A). And a departure or

variance would be consistent with the approaches of district court around the county. See 18

U.S.C. § 3553(a)(6). Indeed, as other courts have recognized, a sentence of time served gives

effect to Congress’s directive that first offenders should generally receive a sentence other than

imprisonment. See, e.g., Germosen, 473 F.Supp.2d at 227 (observing that Guidelines ignored

Congress’s directive pursuant to 28 U.S.C. § 944(j) “by redefining ‘serious offense’ in a way that

was entirely inconsistent with prior practice” and “folding first-time offenders into criminal history

category I”).

       While the government has argued that further imprisonment would satisfy the goals of 18

U.S.C. § 3553(a), it is clear that time served would better satisfy those goals. As the Second Circuit

has held, if the sentencing court believes a lower sentence will be as effective as a higher sentence

in serving the purposes of sentencing, it must choose the lower sentence. Ministro-Tapia, 470

F.3d at 142. Here, that sentence is time served.

                                          CONCLUSION

       For the reasons stated above, Mr. Nikolashvili respectfully requests a sentence of time

served, a Guidelines term of supervision, a Guidelines fine, and a $100 special assessment.




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                                              Respectfully Submitted,



                                              THE DEFENDANT,
                                              David Nikolashvili

                                              FEDERAL DEFENDER OFFICE



Date: February 23, 2018                       /s/ Ross Thomas
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 23, 2018, a copy of the foregoing sentencing
memorandum and exhibits were filed electronically and served by mail on anyone unable to accept
electronic filing. Notice of this filing will be sent to all parties by operation of the Court's
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court's CM/ECF System.

                                      /s/ Ross Thomas
                                      Ross Thomas




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